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         IN THE UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF FLORIDA
                 TALLAHASSEE DIVISION


ANDREW H. WARREN,

                 Plaintiff,                      Civil Action No.
v.
RON DESANTIS, individually and in his official
capacity as Governor of the State of Florida,

               Defendant.
________________________________________

           M E MO R A N D UM I N S U P P O R T O F MO T I O N
               F O R P R E L I MI N A R Y I N J U N C T IO N
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      For the reasons set forth in this Memorandum, the Court, pursuant to Rule 65
of the Federal Rules of Civil Procedure, should grant Plaintiff Andrew Warren’s

motion for a preliminary injunction. Specifically, Warren respectfully asks that the
Court order Defendant Governor Ron DeSantis to rescind his unconstitutional,
unlawful executive order suspending Warren from his duly elected office as State
Attorney for the 13th Judicial Circuit, order DeSantis to reinstate Warren to this
office, and enjoin DeSantis from issuing any further order or taking any other action
against Warren in retaliation for Warren’s constitutionally protected speech or in

excess of the powers granted DeSantis under the Florida Constitution.
      As set forth below, DeSantis’s suspension of Warren violated his right to free
speech and exceeded the limited authority that the Florida Constitution grants
DeSantis to suspend Warren from office in extraordinary circumstances.
      Without immediate relief from this Court, Warren will remain unable to
perform the duties of the office to which voters have elected him, twice. Instead,
barring judicial intervention, the powers of the constitutional office to which Warren
was duly elected will continue to be exercised by a hand-picked ally of DeSantis
who has never received a single vote of a single voter to hold a single office.
                                        Facts
      Plaintiff Andrew Warren is a native Floridian, husband, father, and career
prosecutor. After growing up in Gainesville, Warren studied law at Columbia Law
School and was admitted to the Florida Bar in 2003. For eight years, Warren was a
prosecutor for the U.S. Department of Justice where he prosecuted matters including
street and violent crimes in Washington, D.C., as well as complex fraud cases across
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the country. During his tenure with the Justice Department, Warren earned multiple
accolades and awards, including the 2013 Attorney General Award for Trial

Litigation. Warren also served as an instructor at the Justice Department’s national
training center.
      In 2016 and again in 2020, Warren was elected State Attorney for Florida’s

13th Judicial Circuit. The Florida Constitution provides that the State Attorney is
“the prosecuting officer of all trial courts in [his or her] circuit and shall perform
other duties prescribed by general law.” Fla. Const. art. V, § 17.
      Warren was elected and re-elected after making and keeping numerous
promises to voters about how he would perform his duties. Among other things,
Warren set forth a vision for his office that began with criminal justice reform,

including focusing on long-term safety by balancing punishment, prevention,
treatment, and rehabilitation. Both as a candidate and as State Attorney, Warren also
stressed, spoke out about, and relentlessly pursued the use of smart, innovative
strategies to hold low-level offenders accountable while steering them away from
the criminal justice system’s historical downward spiral toward prison.
      The Florida Supreme Court has spoken repeatedly and clearly on the legal and
ethical obligations of state attorneys. The State Attorney serves a “unique role” “both
as quasi-judicial and quasi-executive.” Valdes v. State, 728 So. 2d 736, 739 (Fla.
1999). His or her discretion “in deciding whether and how to prosecute” is
“absolute.” McGinley v. Fla. Dep’t of Highway Safety & Motor Vehicles, 438 F.
App’x 754, 757 (11th Cir. 2011) (per curiam) (quoting State v. Cain, 381 So. 2d
1361, 1367 (Fla. 1980), superseded by statute on other grounds as stated in Banks


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v. State, 520 So. 2d 43, 46 (Fla. 1st DCA 1987)). And, among other obligations, as
a member of the Bar and a prosecutor, a State Attorney must “reflect a scrupulous

adherence to the highest standards of professional conduct,” including “the
responsibility of a minister of justice and not simply that of an advocate.” The Fla.
Bar v. Cox, 794 So. 2d 1278, 1285, 1286 (Fla. 2001) (citations omitted). The State

Attorney is also “required to exercise sound discretion and independent judgment in
the performance of the prosecution function.” ABA Criminal Justice Standards for
the Prosecution Function 3-1.2(a); Fla. Bar R. 4-3.8, cmt. (noting Florida’s adoption
of the American Bar Association Standards of Criminal Justice Relating to
Prosecution Function after “careful deliberation by lawyers experienced in criminal
prosecution and defense”).

      In carrying out his constitutionally and ethically required duties, Warren has
maintained numerous policies providing guidance and executive direction to the
approximately 130 Assistant State Attorneys (“ASAs”) under his command. Among
other things, some such policies speak generally to the importance of exercising
discretion in every case and every stage of every case. For instance, in a
memorandum disseminated to his Assistant State Attorneys in 2021 Warren
reiterated that “ASAs must exercise discretion based on the facts of [each individual]
case—the nature and circumstances of the offense, the defendant’s criminal history
(or lack thereof), victim input, and other factors. ASAs must exercise that discretion
at every stage . . . .” [Compl. Ex. 2 at 2; Declaration of Andrew Warren ¶ 5]
      Other policies are more specific, providing principles to guide prosecutorial
discretion in particular types of cases. Two such policies (the “Presumptive Non-


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Prosecution Policies”) guide the discretion of ASAs by establishing a “presumption
of non-prosecution” “for certain criminal violations including trespassing at a

business location” and “disorderly conduct” and in cases “where the initial encounter
between law enforcement and the defendant results from a non-criminal violation in
connection with riding a bicycle or a pedestrian violation.” [See State of Florida,

Office of the Governor, Executive Order Number 22-176 (Executive Order of
Suspension) (Aug. 4, 2022), attached to Declaration of David Singer (“Singer
Decl.”) as Ex. 1 (the “Order” or “EO”)]
      The Presumptive Non-Prosecution Policies speak for themselves and are not
absolute. By their terms, both policies state presumptions, only. But in all cases
covered by these policies (indeed in all cases within the State Attorney’s Office),

ASAs are bound by ethics and by policy to apply their judgment and discretion to
the individual case before them. [See Compl. Exs. 3 & 4; Declaration of Andrew
Warren (“Warren Decl.”) ¶¶ 6–7]
      Warren believes strongly that his innovative ideas and opinions are critical to
fulfilling his constitutional and ethical duties. Warren also believes that part of his
job is to state his positions and opinions on matters of public importance impacting
the criminal justice system. And he has done that repeatedly.
      I n June 2021, for example, Warren co-signed a Joint Statement with other
elected prosecutors that, in part, called “on policymakers to . . . leave healthcare
decisions to patients, families, and medical providers.” In the Joint Statement, the
signatories went on to “pledge to use [their] discretion and not promote the




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criminalization of gender-affirming healthcare or transgender people.” [EO Ex. A
(“Gender Statement”)]

      More recently, in the wake of the U.S. Supreme Court’s decision in Dobbs v.
Jackson Women’s Health Organization, 142 S. Ct. 2228 (2022), Warren co-signed
a similar Joint Statement stating the signatories’ opinion that, among other things,

“[c]riminalizing and prosecuting individuals who . . . provide abortion care makes a
mockery of justice; prosecutors should not be part of that.” [EO Ex. B (“Abortion
Statement”)] This Joint Statement also stated that signatories would “exercise [their]
well-settled discretion and refrain from prosecuting those who seek, provide or
support abortions.” And it stated that “legislatures may decide to criminalize
personal healthcare decisions, but we remain obligated to prosecute only those cases

that serve the interests of justice and the people.” [Id.]
      At no time while in office, though, has Warren had any policy, written or
otherwise, of his office that applied specifically to cases involving abortion or
transgender rights. [Warren Decl. ¶¶ 17–18]
      Warren’s opinions and strategies have drawn the ire of, and stand in marked
contrast to, the beliefs and opinions of DeSantis. For example, on the rights of
transgender Floridians and specifically the right to access gender-affirming care,
DeSantis has made numerous statements and characterizations in support of his goal
to criminalize such care. On August 3, 2022, for instance DeSantis falsely
characterized such care as “giving very young girls double mastectomies” and as
“castrat[ing] these young boys.” [See Singer Decl. Ex. 2, at 00:43-01:12] On August
4, 2022, in a press event at which he announced he was suspending Warren from


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office, DeSantis falsely said that gender-affirming care includes “literally chopping
off the private parts of young kids.” [See id. Ex. 3, at 44:49-45:05]

         As to abortion, for example, Warren characterized the Supreme Court’s
decision in Dobbs as disappointing, scary, and “open[ing] the door to boundless
attacks on our freedoms.” [See id. Ex. 4] For his part, DeSantis praised Dobbs as

having “answered the prayers of millions upon millions of Americans.” [See id.
Ex. 5]
         And on the subject of criminal justice reform, DeSantis has said that “Florida
is a law and order state[,]” and he has insisted that criminal justice reform policies
espoused by Warren amount to being “soft[]on[]crime.” [See id. Ex. 6]
         Of course, Warren and DeSantis are not only free, but also encouraged, to air

their policy disagreements publicly. As the Supreme Court has said, elected officials
“have an obligation to take positions on controversial political questions so that their
constituents can be fully informed by them, and be better able to assess their
qualifications for office.” Bond v. Floyd, 385 U.S. 116, 136–37 (1966). But neither
can use the powers of his office to retaliate against the other for holding opposing
views to his own.
         In setting forth the Governor’s powers, the Florida Constitution provides, in
part, that “[b]y executive order stating the grounds and filed with the custodian of
state records, the governor may suspend from office any state officer not subject to
impeachment . . . for malfeasance, misfeasance, neglect of duty, drunkenness,
incompetence, permanent inability to perform official duties, or commission of a
felony, and may fill the office by appointment for the period of suspension.” Fla.


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Const. art. IV, § 7(a). The Florida Constitution further provides that “[t]he suspended
officer may at any time before removal be reinstated by the governor.” Id.

      On August 4, 2022, at a media event at which he appeared surrounded by
cheering supporters including armed, uniformed law enforcement officers, DeSantis
suspended Warren from office. [See Singer Decl. Ex. 3, at 04:15-04:40] Warren has

not been removed from office. See Fla. Const. art. IV, § 7(b).
      The evening before DeSantis announced Warren’s suspension, DeSantis’s
official spokesperson touted that a “MAJOR announcement” was coming and
bragged that it would cause the “liberal media” to “meltdown.” [Singer Decl. Ex. 7]
      Standing in the Hillsborough County Sheriff’s Office to announce Warren’s
suspension, DeSantis made clear that he was suspending Warren because of the

statements made in the 2021 Letter and in the letter signed by Warren “after Dobbs.”
[See id. Ex. 3, at 44:30] In the same media event at which he announced Warren’s
suspension, DeSantis appointed Susan Lopez to be the new State Attorney for the
13th Judicial District. Ms. Lopez has already begun making sweeping changes to the
office for which she has never received a single vote. She “plans to roll back” the
policies enacted by Warren and opposed by DeSantis. [See id. Ex. 8] And she has
posted a self-promotional video on that website in which, among other things, she
claims “the previous state attorney lost the confidence of law enforcement” and in
which she says “thank you to the Governor” for her job. [Id. Ex. 9, at 1:46, 1:54]
                                     Argument
      Plaintiff is entitled to a preliminary injunction because: (1) he is substantially
“likely to succeed on the merits,” (2) he is “likely to suffer irreparable harm in the


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absence of preliminary relief,” (3) “the balance of equities tips in” his “favor,” and
(4) “an injunction is in the public interest.” Winter v. Nat. Res. Def. Council, Inc.,

555 U.S. 7, 20 (2008); see also Swain v. Junior, 961 F.3d 1276, 1284–85 (11th Cir.
2020) (noting that to obtain preliminary injunctive relief a party must establish “(1) it
has a substantial likelihood of success on the merits; (2) irreparable injury will be

suffered unless the injunction issues; (3) the threatened injury to the movant
outweighs whatever damage the proposed injunction may cause the opposing party;
and (4) if issued, the injunction would not be adverse to the public interest”) (citation
omitted).
A.    Warren is likely to succeed on the merits.
      1.     Warren is likely to succeed on his First Amendment claim.

      First, Warren will succeed on the merits of his First Amendment retaliation
claim because Warren was suspended from the office that he was duly elected to
hold for exercising his constitutional right to speak.
      Under the First Amendment, “Congress shall make no law . . . abridging the
freedom of speech.” U.S. Const. amend. I. “The central commitment of the First
Amendment . . . is that ‘debate on public issues should be uninhibited, robust, and
wide-open.’” Bond, 385 U.S. at 136 (quoting N.Y. Times Co. v. Sullivan, 376 U.S.
254, 270 (1964)). “[I ]t has been universally recognized that one of the primary
purposes of the First Amendment is to ‘protect the free discussion of governmental
affairs’ because the maintenance of a responsible democratic government depends
upon it.” Cooper v. Dillon, 403 F.3d 1208, 1214 (11th Cir. 2005) (quoting Landmark
Commc’ns, Inc. v. Virginia, 435 U.S. 829, 838 (1978)). To that end, the First


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Amendment generally “prohibits government officials from subjecting individuals
to ‘retaliatory actions’ after the fact for having engaged in protected speech.”

Houston Cmty. Coll. Sys. v. Wilson, 142 S. Ct. 1253, 1259, 212 L. Ed. 2d 303 (2022)
(quoting Nieves v. Bartlett, 139 S. Ct. 1715, 1722, 204 L. Ed. 2d 1 (2019)).
      To state a claim for retaliation in violation of the First Amendment, “a plaintiff

must establish first, that his speech or act was constitutionally protected; second, that
the defendant’s retaliatory conduct adversely affected the protected speech; and
third, that there is a causal connection between the retaliatory actions and the adverse
effect on speech.” Bennett v. Hendrix, 423 F.3d 1247, 1250 (11th Cir. 2005). Here,
Warren will establish all three elements.

             a.     Warren engaged in protected speech.
      Warren will prevail in establishing the first element because, as an elected
official with the right and obligation to engage in public debate, he spoke out on
issues at the core of First Amendment protection. “The manifest function of the First
Amendment in a representative government requires that [elected officials] be given

the widest latitude to express their views on issues of policy.” Bond, 385 U.S. at
135–36; see also Wood v. Georgia, 370 U.S. 375, 394–95 (1962) (“The petitioner
was an elected official and had the right to enter the field of political

controversy . . . .”). Accordingly, “[t]he First Amendment surely promises an elected
representative like Mr. [Warren] the right to speak freely on questions of government
policy.” Houston Cmty. Coll., 142 S. Ct. at 1261, 212 L. Ed. 2d 303.

      Indeed, “[t]he role that elected officials play in our society makes it all the
more imperative that they be allowed freely to express themselves on matters of


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current public importance.” Republican Party of Minn. v. White, 536 U.S. 765, 781–
82 (2002) (quoting Wood, 370 U.S. at 395). To that end, elected officials “have an

obligation to take positions on controversial political questions so that their
constitu[]ents can be fully informed by them, and be better able to assess their
qualifications for office; also so they may be represented in governmental debates

by the person they have elected to represent them.” Bond, 385 U.S. at 136–37. Given
these bedrock principles, “[t]he first prong” of a First Amendment retaliation claim
“is readily met when elected officials express their views and opinions.” Boquist v.
Courtney, 32 F.4th 764, 775 (9th Cir. 2022).
      Warren, an elected official who spoke on controversial public policy issues,
readily satisfies this element. Specifically, in June 2021, Warren signed a “Joint

Statement from Elected Prosecutors and Law Enforcement Leaders Condemning the
Criminalization of Transgender People and Gender-Affirming Healthcare,” which
was published by an organization known as Fair and Just Prosecution (“FJP”) (the
Gender Statement). And in June 2022, Warren signed a “Joint Statement from
Elected Prosecutors” also published by FJP (the Abortion Statement).1 Both Joint
Statements express views and opinions on issues that are currently the subject of
extensive public debate: the criminalization of transgender people and gender-
affirming healthcare and the criminalization of certain abortions.
      For example, in the Abortion Statement, Warren expressed his views that

“[a]bortion bans will . . . disproportionately harm victims of sexual abuse, rape,

1
 As noted above, copies of these Joint Statements are attached to DeSantis’s Order
as “Exhibit A” and “Exhibit B,” respectively.

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incest, human trafficking, and domestic violence” and that “[e]nforcing abortion
bans runs counter to the obligations and interests we are sworn to uphold [as

prosecutors]” and “makes a mockery of justice.” In the Gender Statement, Warren
expressed his opinions, among others, that “[b]ills that criminalize safe and crucial
medical treatments or the mere public existence of trans people do not promote

public safety, community trust, or fiscal responsibility” and that he “do[es] not
support the use of scarce criminal justice and law enforcement resources on
criminalization of doctors who offer medically necessary, safe gender-affirming care
to trans youth, parents who safeguard their child’s health and wellbeing by seeking
out such treatments, or any individuals who use facilities aligned with their gender
identity.”

      These Joint Statements, on their face, express Warren’s views and opinions
on matters of public concern. Such matters are “at the core of activity protected by
the First Amendment.” Beckwith v. City of Daytona Beach Shores, Fla., 58 F.3d
1554, 1564 (11th Cir. 1995) (holding that fire chief had a “strong interest in
informing the public about policies he believed were dangerous to the City’s
citizens”). Warren was elected by his constituents precisely to engage in this kind of
public policy debate. Warren’s statements are protected speech under the First
Amendment. See Bond, 385 U.S. at 136–37.

             b.    DeSantis’s conduct adversely affected Warren’s speech.
      As a result of speaking out on the issues his constituents elected him to pursue,

Warren has suffered the ultimate adverse action. DeSantis suspended Warren from
his elected office and has deprived Warren of the ability to perform his duties, his


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income, and all benefits associated with the job. “A plaintiff suffers adverse action
if the defendant’s allegedly retaliatory conduct would likely deter a person of

ordinary firmness from the exercise of First Amendment rights.” Bennett, 423 F.3d
at 1254.
       In cases involving elected officials, the Supreme Court has explained that an

official may be “materially deterred” from exercising his right to speak if he is
subjected to action that “prevent[s] [him] from doing his job” or “den[ies] him any
privilege of office,” Houston Cmty. Coll, 142 S. Ct. at 1261, 212 L. Ed. 2d 303,
including if the official is disqualified from assuming his office, Bond, 385 U.S. at
137. See also, e.g., Cook v. Gwinnett Cnty. Sch. Dist., 414 F.3d 1313, 1318 (11th
Cir. 2005) (finding a sufficient adverse action for First Amendment retaliation claim

where the plaintiff was “transfer[red]” to a new position where her hourly pay rate
remained the same but she was no longer guaranteed 40 hours of work each week
and she “lost the additional prestige and office responsibilities that came with” her
old title).
       DeSantis’s conduct here was more than sufficient. DeSantis “suspended”
Warren from the office that he was elected to hold, indefinitely, without pay. [See
EO at 9 (“Andrew Warren is hereby prohibited from performing any official act,
duty, or function of public office; from receiving any pay or allowance; from being
entitled to any of the emoluments or privileges of public office during the period of
this suspension, which period shall be from the effective date hereof, until a further
executive order is issued, or as otherwise provided by law.”)]




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      Warren has thus been “denied” every “privilege of office.” Houston Cmty.
Coll., 142 S. Ct. at 1261, 212 L. Ed. 2d 303. In fact, DeSantis has appointed someone

else to hold Warren’s office and “do[] his job” entirely. Id.; see EO at 9–10 (“The
Honorable Susan Lopez . . . is hereby appointed forthwith, effective August 4, 2022,
to fill the position of State Attorney for the 13th Judicial Circuit of Florida . . . for

the duration of the suspension.”).
      DeSantis’s conduct—which has deprived Warren of his job, his income, and
the prestigious title he was elected to hold—“would likely deter a person of ordinary
firmness from the exercise of First Amendment rights.” Bennett, 423 F.3d at 1254.

             c.     Warren’s protected speech was the motivating factor for
                    DeSantis’s conduct.
      Warren will prevail in showing retaliatory motive because DeSantis admitted,
even boasted, that he was suspending Warren because of the Joint Statements. “The
causal connection inquiry asks whether the defendants were subjectively motivated
to discipline because” of the plaintiff’s protected speech. Smith v. Mosley, 532 F.3d

1270, 1278 (11th Cir. 2008). A plaintiff’s burden in this regard “is not a heavy one.”
Beckwith, 58 F.3d at 1564.
      In this case, there is “direct evidence of discriminatory motive,” which is alone
sufficient. Id. at 1565. Specifically, DeSantis’s executive order openly admits that
he is suspending Warren because Warren “signed” the Joint Statements. [See EO at
3, 6] Indeed, DeSantis even attaches copies of the Joint Statements to his order and

quotes specific opinions and views expressed in the Joint Statements with which
DeSantis disagrees. [See id.] For example, DeSantis criticizes the fact that Warren


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expressed “support” for “gender-transition treatments for children and bathroom
usage based on gender identity” and disagreement with the wisdom, lawfulness, and

justice of abortion bans. [Id.] DeSantis even stresses that Warren is “the only state
attorney in Florida” willing to openly disagree with DeSantis by expressing the
viewpoints in the Abortion Statement. [Id. at 6]

      DeSantis may argue, as his Order does, that Warren’s statements on these
topics somehow “demonstrate[] [Warren’s] incompetence and willful defiance of his
duties as a state attorney.” [Id. at 3] But this mere pretext is belied by the Order and
the Joint Statements themselves, which are facially insufficient to justify the
suspension. DeSantis admits that “the Florida Legislature has not enacted” any
“criminal law[]” regarding the topics discussed in the Gender Statement that could

bear relation to Warren’s “duties as a state attorney.” [Id.] And neither Joint
Statement refers to any Florida law, let alone any case presented to or pending before
Warren or his office. Instead, the Joint Statements are general statements of opinions
and viewpoints on broad topics of national public debate signed by dozens of elected
officials from across the nation. Nothing in these statements could be reasonably
read as relating to Warren’s “incompetence” or “neglect” of duty. Stated differently,
and as explained in more detail below with respect to Warren’s second claim, the
Order is facially insufficient to justify a suspension under Florida law.
      DeSantis’s unannounced, harsh actions in direct response to Warren’s
statements—without any record of actual misconduct to justify removing Warren
from the office he was elected to hold and without sufficient grounds under state
law—strongly “suggests a desire to punish [Warren] for protected speech” and “an


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inference that [DeSantis] harbored retaliatory animus towards [Warren].” Beckwith,
58 F.3d at 1565.

      That his suspension is in retaliation for espousing views contrary to those held
by DeSantis is further clear when considering that other Florida elected law
enforcement officials—officials whose views DeSantis agrees with—have spoken

out about exercising their discretion and suffered no adverse action. To name one
prominent example, Seminole County Sheriff Dennis Lemma made headlines in
2020 by declaring that even if there were a law requiring owners of assault rifles to
register their weapons, “[i]t’s not only that I wouldn’t [enforce that law], the majority
of sheriffs across the state would not do it.” Lemma further said, “I t’s up to the
sheriffs what they are willing to enforce[.]” [Singer Decl. Ex. 11; see also id. Ex.

12] Lemma endorsed DeSantis in his gubernatorial campaign. And Lemma suffered
no adverse consequences for his very public declaration that he wouldn’t enforce the
law, even if passed.2

      In sum, “[u]nder our system of government,” elected officials like DeSantis
and Warren have every right to disagree with each other’s opinions, but “the
weapons available to” DeSantis in responding to Warren’s opinions were

“counterargument and education,” “not abridgment of [Warren’s] rights of free




2
 Ironically, Hillsborough County Sheriff Chad Chronister, who hosted the media
event announcing Warren’s suspension, provides another example. I n 2020,
exercising discretion he claimed by virtue of his office, Sheriff Chronister
announced that he was “suspending the execution of eviction notices through April
20 due to widespread effects of the coronavirus pandemic.” [Singer Decl. Ex. 13]

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speech and assembly.” Wood, 370 U.S. at 389. Warren is likely to prevail on each
element of his First Amendment retaliation claim.

      2.     Warren is likely to succeed on his quo warranto claim.
      Warren is similarly likely to succeed on his quo warranto claim under Florida
State law.

             a.     Quo warranto is proper to confirm that the Governor
                    unlawfully exercised his powers in suspending Warren.
      Under Florida state law, the claim of “[q]uo warranto is used ‘to determine
whether a state officer or agency has improperly exercised a power or right derived
from the State.’” Israel v. Desantis, 269 So. 3d 491, 494 (Fla. 2019) (quoting League
of Women Voters of Fla. v. Scott, 232 So. 3d 264, 265 (Fla. 2017)).
      The Governor has unlawfully suspended Warren in violation of the Florida

Constitution. Article IV, section 7(a) of the Florida Constitution provides that the
Governor “may suspend from office any state officer not subject to
impeachment . . . for malfeasance, misfeasance, neglect of duty, drunkenness,
incompetence, permanent inability to perform official duties, or commission of a
felony, and may fill the office by appointment for the period of suspension.” The
Governor also has the power to reinstate a suspended officer “at any time before
removal.” Fla. Const. art. IV, § 7(a).




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             b.    The Governor can suspend a State Attorney only under the
                   limited circumstances enumerated in Article IV, section 7(a)
                   of the Constitution.
      Again, the Governor’s Order claims that three separate policy statements by

Warren are evidence of both “incompetence” and “neglect of duty.” These words
have meaning long ago confirmed by the Florida Supreme Court.
      As the Supreme Court has explained, “incompetency” refers “to any physical,

moral, or intellectual quality, the lack of which incapacitates one to perform the
duties of his office.’” Israel, 269 So. 3d at 496 (quoting State ex rel. Hardie v.
Coleman, 155 So. 129, 133 (Fla. 1934)). This is consistent with the plain text
definition of the term. See Incompetent, Oxford English Dictionary (3d ed. 2016),
https://www.oed.com (“Of inadequate ability or fitness; not having the requisite
capacity or qualification; incapable.”). And though “incompetency” “may arise from

gross ignorance of official duties or gross carelessness in the discharge of
them . . . [or] from lack of judgment and discretion,” that gross ignorance or
carelessness must be the product of the public officer’s “physical, moral, or
intellectual quality” that “incapacitates [the officer] to perform the duties of his
office.” Israel, 269 So. 3d at 496 (quoting Hardie, 155 So. at 133) (alterations in
original).
      The Court has defined neglect of duty as having “reference to the neglect or
failure on the part of a public officer to do and perform some duty or duties laid on




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him as such by virtue of his office or which is required of him by law.” Id. (quoting
Hardie, 155 So. at 132). 3

              c.     It is the job of the courts to determine whether the Governor
                     has invoked his power lawfully.
       Courts have a critical role in reviewing the Governor’s exercise of the
suspension power. The Florida Constitution requires the Governor’s Executive
Order to “stat[e] the grounds” of the officer’s suspension. Fla. Const. Art. IV, § 7(a).
As a result, suspended officers “may seek judicial review . . . to ensure that the order
satisfies that constitutional requirement . . ..” Israel, 269 So. 3d at 495. Indeed, “it is

the exclusive province of the judiciary to interpret terms in a constitution and to
define those terms.” In re Senate Joint Resol. of Legislative Apportionment 1176, 83
So. 3d 597, 631 (Fla. 2012); see also Dade Cnty. Classroom Teachers Ass’n, Inc. v.

Legislature, 269 So. 2d 684, 686 (Fla. 1972) (“We are under a constitution, but the
constitution is what the judges say it[] is, and the judiciary is the safeguard of our
liberty and our property under the constitution.” (citation omitted)).
       In doing so, the judiciary’s role is to “determin[e] whether the executive order,
on its face, sets forth allegations of fact relating to one of the constitutionally


3
  Florida’s constitutional provision concerning the suspension power was amended
after Hardie but retained the same grounds for suspension, including
“incompetency” and “neglect of duty.” Compare Fla. Const. art. IV, § 15 (1934),
with Fla. Const. art. I V, § 7. Those words therefore carried forward their prior
meanings, including as interpreted in Hardie. See Antonin Scalia & Bryan A.
Garner, Reading Law: The Interpretation of Legal Texts 322 (2012) (“If a word or
phrase has been authoritatively interpreted by the highest court in a jurisdiction, . . . a
later version of that act perpetuating the wording is presumed to carry forward that
interpretation.”).

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enumerated grounds of suspension.” Israel, 269 So. 3d at 495; see also Hardie, 155
So. at 133 (because suspensions “affect[] the lawful rights of individuals, the

jurisdictional facts, in other words, the matters and things on which the executive
grounds his cause of removal, may be inquired into by the court”). Put differently, it
is the job of the courts, if asked, to say whether the facial allegations in an Executive

Order fall within the Florida Supreme Court’s definitions of the enumerated
categories of offenses for which the constitution permits suspension. If they are not,
or the Executive Order is otherwise “arbitrary,” Hardie, 155 So. at 133, the order is
insufficient to withstand judicial review. Where, on the other hand “on the whole,
[the executive order] contains allegations that bear some reasonable relation to the
charge made against the officer, it will be adjudged as sufficient.” Israel, 269 So. 3d

at 496 (quoting Hardie, 155 So. at 133) (alterations in original).

             d.     The Governor has not invoked his power lawfully.
      In this case, none of the Executive Order’s allegations relate to, or fall within,
the well-defined boundaries of “incompetence” or “neglect of duty.” It would give

the Governor limitless, dictatorial power to allow him—as he has done here—to
suspend a State Attorney simply for opining on public issues and for performing his
duty to exercise prosecutorial discretion when prioritizing the charging of certain

criminal cases. The Governor’s Order is facially insufficient under the Florida
Constitution.

                    (i)    The Gender Statement.
      To support Warren’s suspension, the Executive Order cites his signature of
the Gender Statement, which again criticizes the proposed criminalization of


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transgender people and gender-affirming healthcare. I n doing so, the Executive
Order does not allege conduct that would constitute “incompetence” or “neglect of

duty” as defined by the Florida Supreme Court.
      The Order first alleges that Warren “demonstrated his incompetence and
willful defiance of his duties as a state attorney . . . when he signed a ‘Joint

Statement’ with other elected prosecutors in support of gender-transition treatments
for children and bathroom usage based on gender identify.” [EO at 3 (emphasis
added)] Among other things, and as alleged in the Order, the Gender Statement
asserted that the numerous signatories pledged to use their “discretion and not
promote the criminalization of gender-affirming healthcare or transgender people.”
[Id.] Further, the signatories pledged to use their “settled discretion and limited

resources on enforcement of laws that will not erode the safety and well-being” of
communities and that the signatories do not support “the use of scarce criminal
justice and law enforcement resources on criminalization of doctors.” [Id.] In the
end, the Gender Statement affirmed that the signatories were “committed to ending
this deeply disturbing and destructive criminalization of gender-affirming healthcare
and transgender people.” [Id.] In short, DeSantis has suspended Warren because he
supports certain policies and opposes criminalizing certain conduct.
      As alleged in the Order, the Joint Statement nowhere asserted that Warren
categorically planned not to enforce any specific law. And, indeed, the Order
concedes that the “Florida Legislature has not enacted such criminal laws.” [Id.]
Nonetheless, according to DeSantis, these statements evidence Warren’s
incompetence and neglect of duty because they “prove that [Mr.] Warren thinks he


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has authority to defy the Florida Legislature and nullify . . . criminal laws with which
he disagrees.” [Id.] Wrong.

      These allegations are facially insufficient to show “incompetence,” or “any
physical, moral, or intellectual quality” that Warren is lacking that incapacitates him
from performing the duties of his office. Israel, 269 So. 3d at 496 (quoting Hardie,

155 So. at 133). Nor are there any allegations of “gross ignorance” that could give
rise to, or provide evidence of, this incapacitation. Id. Indeed, there are no allegations
that Warren lacks “knowledge or awareness” generally about his job duties “or about
a particular thing.” Ignorance, Oxford English Dictionary, supra. And because
Florida has not even enacted any such criminal law, Warren cannot have neglected
any duty that might stem from it as “the prosecuting officer of all trial courts in

[Hillsborough County].” Fla. Const., art. V, § 17.
      At most, under the most generous reading of the allegations (at 3), Warren has
pledged to use “discretion and not promote the criminalization of gender-affirming
healthcare or transgender people.” Instead of showing extreme ignorance of his job
duties—and, in fact, evidencing awareness of his precise powers as a prosecutor—
this statement recognizes that it is his duty to “serve justice,” Frazier v. State, 294
So. 2d 691, 692 (Fla. Dist. Ct. App. 1974), and to “exercise. . . prosecutorial
discretion” over criminal cases, Ayala v. Scott, 224 So. 3d 755, 759 (Fla. 2017).
      The statements in the Order also do not relate to “neglect of duty,” or the
failure “to do and perform some duty or duties laid on him as such by virtue of his
office or which is required of him by law.” Israel, 269 So. 3d at 496 (quoting Hardie,
155 So. at 133). Again, no clause in the Executive Order alleges that Warren has


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refused to enforce any specific law. Indeed, the Executive Order concedes (at 3) that
no specific Florida laws exist as to the subjects in the joint statement. Absent any

such law, Warren cannot have neglected any duty as the “prosecuting officer of all
trial courts” in Hillsborough County. Fla. Const. art. V, § 17.4

                     (ii)   Presumption of non-prosecution for certain crimes.
      Next, in relying on Warren’s Presumptive Non-Prosecution Policies, the

Executive Order does not allege conduct that would constitute “incompetence” or
“neglect of duty.”
      Without explanation, the Executive Order (at 4) says the Presumptive Non-
Prosecution Policies are “not a proper exercise of prosecutorial discretion because
they do not require ‘case-specific’ and ‘individualized’ determinations as to whether
the facts warrant prosecution” and “instead are based on categorical exclusions of
otherwise criminal conduct that is tantamount to rewriting Florida criminal law.”
      DeSantis’s allegations about the Presumptive Non-Prosecution Policies,
however, are facially insufficient, as a matter of law, to establish incompetence or

neglect of duty. As the Executive Order concedes, “state attorneys have complete
discretion in making the decision to prosecute a particular defendant.” [EO at 2
(citing Cleveland v. State, 417 So. 2d 653, 654 (Fla. 1982))] “[P]rosecutorial

discretion requires a state attorney to make ‘case-specific’ and ‘individualized’


4
 The Executive Order also says this conduct “prove[s] that [Mr.] Warren thinks he
has authority to defy the Legislature and nullify . . . criminal laws with which he
disagrees. But, again, “the Florida Legislature has not enacted such criminal laws,”
as the Executive Order concedes (at 3). Mr. Warren therefore cannot “defy” or
“nullify” a law that does not exist.

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determinations as to whether the facts warrant prosecution,” as the Executive Order
further concedes. [Id. (quoting Ayala, 224 So. 3d at 758–59)] And “exercising

discretion demands an individualized determination ‘exercised according to the
exigency of the case, upon a consideration of the attending circumstances.’” Ayala,
224 So. 3d at 759 (quoting Barber v. State, 5 Fla. 199, 206 (Fla. 1853) (Thompson,

J., concurring)).
      Warren’s policies do precisely that. As State Attorney, Warren rightfully
exercised his prosecutorial discretion in setting guidelines for his office when
charging cases. Both policies are “presumptive” only, as DeSantis admits.5 [EO at
2] One policy, in fact, enumerates specific exemptions that would trigger
prosecution. Those policies require prosecutors to consider each case individually
and on a case-by-case basis. And by making these “case-specific determinations,”
Warren’s policies “reflect an exercise of prosecutorial discretion.” Ayala, 224 So.
3d at 759 (citation omitted). Warren has in no way failed “to do and perform some

duty or duties laid on him as such by virtue of his office or which is required of him


5
  Though simultaneously conceding that these policies are “presumptive” only, the
Executive Order alleges that these policies “do not require ‘case-specific’ and
‘individualized’ determinations as to whether the facts warrant prosecution.” But a
“presumption” is only that and requires further case-specific consideration. See
Presumption, Black’s Law Dictionary (11th ed. 2019) (“A legal inference or
assumption that a fact exists because of the known or proven existence of some other
fact or group of facts . . . A presumption shifts the burden of production or persuasion
to the opposing party, who can then attempt to overcome the presumption.”).
Otherwise it would be a requirement and not a presumption. Again, the Executive
Order acknowledges that, for one policy, there is an exception “where there is a
direct threat to public safety.” That exception naturally would require an
individualized, case-specific determination.

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by law.” Israel, 269 So. 3d at 496 (quoting Hardie, 155 So. at 132). Rather, he has
performed the precise duties laid on him as the prosecutor for Hillsborough County.

      The Florida Supreme Court’s opinion in Ayala confirms that Warren did not
neglect the duties of his office. In Ayala, then-Governor Rick Scott reassigned death
penalty-eligible cases from a State Attorney who adopted “a blanket ‘policy’ of not

seeking the death penalty in any eligible case,” “even where an individual case
‘absolutely deserve[s] [the] death penalty.’” 224 So. 3d at 756–57 (alterations in
original). The Court upheld the Governor’s actions “because by effectively banning
the death penalty in the [county]—as opposed to making case-specific
determinations as to whether the facts of each death-penalty eligible case justify
seeking the death penalty—Ayala” adopted a policy that “is ‘in effect refusing to

exercise discretion’ and tantamount to a ‘functional[] veto’ of state law authorizing
prosecutors to pursue the death penalty in appropriate cases.” Ayala, 224 So. 3d at
758 (alterations in original) (citation omitted).
      The policy in Ayala is opposite of the policy here. In setting guidelines for
charging decisions, Warren required case-specific determinations. That is the heart
of prosecutorial discretion. See Ayala, 224 So. 3d at 758–59. Warren is doing exactly
what the constitution requires. As a matter of law, the statements in the Executive
Order therefore do not relate to “neglect of duty.” Israel, 269 So. 3d at 496 (quoting
Hardie, 155 So. at 132).
      Moreover, none of these allegations relate to “incompetence,” or “any
physical, moral, or intellectual quality” that Warren lacks and that “incapacitates”
him from performing the duties of his office. Id. (quoting Hardie, 155 So. at 133).


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Further, because “state attorneys have complete discretion in making decisions to
prosecute a particular defendant” [EO at 2], the Presumptive Non-Prosecution

Policies cannot relate to any “gross ignorance” that could give rise to, or provide
evidence of, this incapacitation, Israel, 269 So. 3d at 496 (quoting Hardie, 155 So.
at 133).

                   (iii)   The Abortion Statement.
      Finally, the Executive Order alleges that Warren (along with many other
prosecutors across the country) signed the Abortion Statement, condemning the
criminalization of abortion and promising to use prosecutorial discretion when
reviewing charges concerning abortion. This signature also does not fall within the
well-defined contours of “incompetence” or “neglect of duty.”
      Specifically, the Executive Order (at 5) alleges that Warren made “a public
declaration that he would not enforce criminal laws enacted by the Florida
Legislature that prohibit providers from performing certain abortions to protect the
lives of unborn children.”6 The Executive Order, however, then quotes from the

Abortion Statement. None of the statements cited, or contained in the Abortion
Statement, however, contain a categorical statement that Warren would not
prosecute any law, let alone any Florida law.
      Instead, the Abortion Statement, as quoted in the Executive Order, contains
broad value statements, like “[e]nforcing abortion bans runs counter to the

6
  Among other things, the Executive Order cites (at 5) Florida’s criminal ban on
certain late-term abortions and Florida’s recently enacted law “which prohibits a
physician from performing an abortion after a fetus reaches the gestational age of 15
weeks, with certain exceptions.”

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obligations and interest we are sworn to uphold.” At its most forceful, the Abortion
Statement contains the assertion that the signatory prosecutors would “decline to use

[their] offices’ resources to criminalize reproductive health decisions” and would
“commit to exercise [their] well-settled discretion and refrain from prosecuting”
certain (but not all) people “who seek, provide, or support abortions.” 7 [EO Ex. B]

The Joint Statement concludes, however, by affirming that the undersigned
prosecutors would exercise their discretion given their judgment. As the Executive
Order recites (at 6), the signatory prosecutors affirm: “Our legislatures may decide
to criminalize personal healthcare decisions, but we remain obligated to prosecute
only those cases that serve the interests of justice and the people.”
      Perhaps recognizing that that this Joint Statement amounts to little more than
a value statement, the Executive Order (at 7 (emphasis added)) draws the ultimate
conclusion that “there is no reason to believe that Warren will faithfully enforce the
abortion laws of this State and properly exercise his prosecutorial discretion on a

‘case-specific’ and ‘individualized’ basis.” It does not allege, because it cannot, that
Warren himself asserted any intention to abdicate his duty of case-by-case
discretion. Again, “State attorneys have complete discretion in making the decision

to prosecute a particular defendant,” as the Order concedes. [EO at 2 (citing
Cleveland, 417 So. 2d at 654)]




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  Even with this assertion, the Joint Statement caveats it with express belief that
certain individuals should be prosecuted under abortion-related statutes. [EO Ex. B
at n.2]

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      In the end, the Order’s allegations concerning the Abortion Statement cannot
relate to “incompetence,” or “any physical, moral, or intellectual quality” that

Warren is lacking that “incapacitates” him from performing the duties of his office.
Israel, 269 So. 3d at 496 (quoting Hardie, 155 So. at 133). Again, because “state
attorneys have complete discretion in making decisions to prosecute a particular

defendant” [EO at 2], Warren’s value statements condemning the criminalization of
abortion cannot evidence any “gross ignorance” that could give rise to, or provide
evidence of, this incapacitation, Israel, 269 So. 3d at 496 (quoting Hardie, 155 So.
at 133). The Abortion Statements also not relate to “neglect of duty.” Israel, 269 So.
3d at 496 (quoting Hardie, 155 So. at 132). In exercising his discretion in considering
what cases to prosecute, Warren is doing what is constitutionally required.

      DeSantis has suspended Warren simply for opining on public issues and for
exercising prosecutorial discretion—as the constitutional requires—by setting
guidelines for charging decisions. The Florida Constitution prohibits DeSantis’s
actions and thus Warren is likely to succeed on the merits of his quo warranto claim.
B.    Warren will suffer irreparable injury absent an injunction.
      Absent an injunction from this Court, Warren will continue to remain ousted
from his elected office, with the chilling prospect of punishment for speaking out
hanging over his head. As set forth above, not only did his removal violate state law,
but also it has deprived—and continues to deprive—him of his right to freedom of
speech under the First and Fourteenth Amendments to the U.S. Constitution.
Irreparable injury is one that “cannot be undone through monetary remedies.” Ne.
Fla. Chapter of Ass’n of Gen. Contractors of Am. v. City of Jacksonville, Fla., 896


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F.2d 1283, 1285 (11th Cir. 1990); see ABC Charters, Inc. v. Bronson, 591 F. Supp.
2d 1272, 1309 (S.D. Fla. 2008) (“Irreparable harm means any serious injury that

cannot be quantified, i.e., the party suffering the injury cannot be made whole by the
payment of monetary damages alone.”).
      First, DeSantis’s suspension of Warren in violation of his First Amendment

rights alone constitutes irreparable injury. “The loss of First Amendment freedoms,
for even minimal periods of time, unquestionably constitutes irreparable injury.”
Elrod v. Burns, 427 U.S. 347, 373 (1976); see Cate v. Oldham, 707 F.2d 1176, 1188
(11th Cir. 1983), certified question answered, 450 So. 2d 224 (Fla. 1984) (“It is well
settled that the loss of First Amendment freedoms for even minimal periods of time
constitutes irreparable injury justifying the grant of a preliminary injunction.”)

(quoting Deerfield Med. Ctr. v. City of Deerfield Beach, 661 F.2d 328, 338 (5th Cir.
Unit B 1981))). Further, “direct penalization” for having exercised First Amendment
freedoms, as occurred here, “constitutes irreparable injury.” Cate, 707 F.2d at 1188;
see also Siegel v. LePore, 234 F.3d 1163, 1178 (11th Cir. 2000) (en banc) (citing
with approval holding that “direct penalization” of speech is an irreparable injury).
      Second, Warren will also suffer irreparable harm because of his unlawful and
continued removal from office. “[R]emoval from office is not the type of injury
which can be compensated monetarily.” Caudell v. City of Toccoa, 153 F. Supp. 2d
1371, 1381 (N.D. Ga. 2001) (quoting Hunt v. City of Longview, 932 F. Supp. 828,
842 (E.D. Tex. 1995), aff’d, 95 F.3d 49 (5th Cir. 1996)). This is particularly true
where, as here, the individual who has been appointed to replace Warren during his
unlawful and indefinite suspension has already begun reversing policies that Warren


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instituted and discretionary decisions that Warren made—as voters elected him to
do. [See, e.g., Singer Decl. Exs. 8 & 10] These policy reversals—which include, for

example, the reversal of Warren’s decision not to seek the death penalty in a case
pending before his office [id. Ex. 10] and the termination of Warren’s Chief
Communications Officer [id. Ex. 14]—cannot be undone by monetary remedies.

C.    The public interest will be vindicated, not disserved, by an injunction
      and the balance of equities tips in Warren’s favor.
      Finally, a court may grant a preliminary injunction only where, as here, the
“injunction would not be adverse to the public interest.” Siegel, 234 F.3d at 1176.
As this court has previously held, “[t]he vindication of constitutional
rights . . . serve[s] the public interest almost by definition.” League of Women Voters
of Fla. v. Browning, 863 F. Supp. 2d 1155, 1167 (N.D. Fla. 2012). And “there is

undoubtedly a public interest in having the will of [the] voters . . . carried out . . . .”
Guzzo v. Mead, No. 14-CV-200-SWS, 2014 WL 5317797, at *6 (D. Wyo. Oct. 17,
2014).
       The injuries and irreparable harm suffered by Warren far outweigh any
damage that an injunction might cause to DeSantis’s lawful interests. True, DeSantis
would be denied his hand-picked choice of State Attorney for the 13th Judicial
Circuit. But that choice was never his to make; the Florida Constitution commits that
choice to the voters. And no matter how often or how loudly DeSantis claims to be
acting in their “best interests” the people expressed their interests by electing
Warren—twice.




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                                     Conclusion
         The Motion for Preliminary Injunction should be granted.

 Dated: August 17, 2022                  By: /s/ David B. Singer
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      L O C A L R U L E 7 . 1 ( F ) C E R T I F I CA T E O F C O MP L I A N C E
         I hereby certify that this Memorandum in Support of Motion for Preliminary
Injunction contains 7,938 words, with such word count incorporating all portions of
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                                                 /s/ David B. Singer
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